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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

 SHOSHONE-BANNOCK TRIBES OF THE                  Case No.: 4:20-cv-00553-BLW
 FORT HALL RESERVATION,

                     Plaintiff,
                                                 FEDERAL DEFENDANTS’
        vs.                                      RESPONSE TO DEFENDANT-
                                                 INTERVENOR J.R. SIMPLOT
 LAURA DANIEL-DAVIS, Principal Deputy            COMPANY’S MOTION FOR THE
 Assistant Secretary for Land and Minerals       COURT TO CONSIDER EXTRA-
 Management, et al.                              RECORD MATERIAL

                     Defendants,

        and

 J.R. SIMPLOT COMPANY

                     Intervenor-Defendant.

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       Plaintiff Shoshone-Bannock Indian Tribes of the Fort Hall Reservation challenge the

United States Department of the Interior’s decision to approve a land exchange between the

Bureau of Land Management (“BLM”) and J.R. Simplot Company (“Simplot”). Compl. (ECF

No. 1). The land Simplot received in the exchange is located next to Simplot’s phosphate

processing plant known as the “Don Plant” and is within the Eastern Michaud Flat Superfund

Site. The Federal Defendants compiled and served on the parties the administrative record of all

the documents directly or indirectly considered by the decisionmaker in making the decision at

issue. Intervenor Simplot then filed a motion for the Court to consider extra-record materials in

reviewing and resolving Plaintiff’s claims on the merits. ECF No. 26.

       Judicial review of an agency decision is based on the administrative record in existence at

the time of the decision. Camp v. Pitts, 411 U.S. 138, 142 (1973). The Ninth Circuit has

recognized limited circumstances when district courts may consider extra-record evidence: “(1)

if admission is necessary to determine ‘whether the agency has considered all relevant factors

and has explained its decision,’ (2) if ‘the agency has relied on documents not in the record,’ (3)

‘when supplementing the record is necessary to explain technical terms or complex subject

matter,’ or (4) ‘when plaintiffs make a showing of agency bad faith.’” Lands Council v. Powell,

395 F.3d 1019 (9th Cir. 2004) (citing Sw. Ctr. for Biological Diversity v. U.S. Forest Service,

100 F.3d 1443, (internal citation and quotation marks omitted). Therefore, any party wishing to

submit such evidence should move the Court to admit extra-record evidence before attaching any

declarations to briefs. Id.

       Simplot seeks to have the Court consider the Declaration of Alan Prouty (ECF No. 6-2)

filed in support of Simplot’s motion to intervene in the case, and an exhibit to that declaration



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(ECF No. 6-9). Mr. Prouty’s declaration summarizes the efforts Simplot has taken on the site

since this Court’s ruling in Shoshone-Bannock Tribes v. U.S. Dep’t of the Interior, No. 4:10-cv-

4-BLW, 2011 WL 1743656, *1 (D. Id. May 3, 2011). The exhibit is a June 2020 United States

Environmental Protection Agency (“EPA”) document that assesses the remedial actions taken to

address fluoride contamination in the Superfund area surrounding the Simplot plant. ECF No. 6-

9. Simplot argues that the Court should consider both documents in order to explain complex

subject matter in the administrative record. It argues that the Court should consider the exhibit

because (1) it provides supplemental material to documents in the administrative record and (2)

the Court can take judicial notice of this document that was prepared by a governmental agency

in the exercise of its official duties that is not reasonably subject to factual dispute.

        These documents were properly excluded from the administrative record because the

declaration post-dates the decision, and Simplot has not demonstrated that the EPA document

was before the decision-maker at the time of the decision. Given the specific documents at issue,

Simplot’s motion for extra-record evidence, and the circumstances of this case, however, Federal

Defendants do not object to the use and consideration of the declaration or the EPA report as

extra-record evidence, so long as they are used to establish background or to help explain

technical material in the record and not “to determine the correctness . . . or wisdom of the

agency’s decision.” See Yellowstone to Uintas Connection v. Bolling, Case No. 4:20-cv-00192-

DCN, 2021 WL 5702158, at *10 (D. Id. Dec. 1, 2021) (citing Nw. Envtl. Advocates v. NMFS,

460 F.3d 1125, 1144 (9th Cir. 2006) (noting that consideration of extra-record evidence on the

merits of an APA claim is not permitted). The EPA report also is a government document

publically available on the agency’s website. Therefore, Federal Defendants do not object to the

Court taking judicial notice of the report to prove its existence and contents, but would object to



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the report being used to prove the truth of the matters asserted therein. Friends of the Clearwater

v. Higgins, 523 F. Supp. 3d 1213, 1222 (D. Id. 2021).

       DATED this 28th day of January, 2022.

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